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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF GEORGIA

HDI GLOBAL SPECIALTY SE, f/k/a               )
International Insurance Company of           )
Hannover SE,                                 )
                                             )
        Plaintiff/Counter-Defendant,         )
                                             )
v.                                           )
                                             )        CIVIL ACTION FILE NO.:
PF HOLDINGS, LLC, SCHOOLHOUSE                )        4:20-CV-00103-CDL
ROAD ESTATES, INC., RALSTON GA,              )
LLC, PF RALSTON, LLC, PHILIP                 )
HADLEY and JENNIFER GLAUBIUS,                )
                                             )
        Defendants/Counter-Plaintiffs/Third- )
        Party Plaintiffs,                    )
                                             )
v.                                           )
                                             )
HDI GLOBAL SPECIALTY SE, f/k/a               )
International Insurance Company of           )
Hannover SE, and NATIONAL UNION              )
FIRE INSURANCE COMPANY OF                    )
PITTSBURGH, PA,                              )
                                             )
        Counter-Defendants/Third-Party       )
        Defendants.                          )
______________________________________ )

         THIRD-PARTY-DEFENDANT NATIONAL UNION FIRE INSURANCE
            COMPANY OF PITTSBURGH, PA.’S BRIEF IN SUPPORT OF
                    MOTION FOR SUMMARY JUDGMENT

       Third-Party Defendant National Union Fire Insurance Company of Pittsburgh, Pa.

(“National Union”) files this Brief in Support of its Motion for Summary Judgment pursuant to

Fed. R. Civ. P. 56 and Local Rules 7 and 56, and respectfully shows the Court as follows:

                                      INTRODUCTION

       Third Party Plaintiffs assert coverage under excess commercial liability insurance

policies issued by National Union, but coverage is absent under the circumstances because there
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is no defense or indemnification obligation under either policy unless and until the total

applicable limits of “Scheduled Underlying Insurance” are exhausted by payment of sums for a

judgment or settlement. It is undisputed that the total applicable limits of the “Underlying

Insurance” issued by HDI Global Specialty SE, f/k/a International Insurance Company of

Hannover SE (“HDI”), were not offered in settlement or exhausted during the pendency of the

lawsuits by Jennifer Glaubius (“Glaubius”) and Philip Hadley (“Hadley”).                National Union

therefore had no obligation to defend or indemnify the insureds unless and until HDI exhausted its

limits in settlement on behalf of the insureds, and Third-Party Plaintiffs’ own expert found no basis for

any criticism against National Union.1 National Union did not breach its obligations under the

policies it issued, and cannot possess liability for any alleged failure to settle the claims of

Glaubius or Hadley. For the same reasons, there can be no claim by Third-Party Plaintiffs for

attorneys’ fees against National Union pursuant to O.C.G.A. § 13-6-11.

        Moreover, even if coverage under the National Union Policies was somehow implicated

(which National Union respectfully disputes), PFH and SRE, without communicating with

National Union or obtaining its consent, agreed to arbitrate Glaubius and Hadley’s claims;

agreed to a particular arbitrator; admitted liability in the arbitration to certain claims; and elected

not to challenge the Arbitrator’s final award. In the absence of National Union’s consent, PFH

and SRE breached the conditions of coverage respecting cooperation and voluntary payments,




1
        The National Union Policies were issued to named insureds PF Ralston LLC and Ralston
GA LLC. In the underlying Glaubius and Hadley lawsuits, it was alleged that PF Holdings LLC
(“PFH”) managed The Ralston, which was a low-income apartment building leased by Ralston
GA LLC from PF Ralston LLC and where Glaubius and Hadley lived, and that Schoolhouse
Roads Estates, Inc. (“SRE”) was the sole member of Ralston GA LLC. Assuming for the
purposes of this motion only, these allegations potentially afforded PFH and SRE insured status
under the HDI and National Union Policies. (PF Ralston LLC, Ralston GA LLC, PFH and SRE
collectively, “the Ralston Entities”).


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voiding any potential coverage under the National Union policies for the Arbitrator’s final

award.

         Finally, no coverage is afforded by the National Union policies for the attorneys’ fees or

punitive damages awarded to Glaubius and Hadley by the Arbitrator in the underlying lawsuits.

                                    STATEMENT OF FACTS

         National Union incorporates by reference as if fully set forth herein its Statement of

Material Facts For Which There Is No Genuine Issue To Be Tried (“Statement of Material

Facts”) filed contemporaneously with this Brief.

                        ARGUMENT & CITATIONS OF AUTHORITY

A.       National Union Had No Duty To Indemnify The Ralston Entities

         “Excess or secondary coverage is coverage whereby, under the terms of the policy, liability

attaches only after a predetermined amount of primary coverage has been exhausted.” U.S. Fire Ins.

Co. v. Capital Ford Truck Sales, Inc., 355 S.E.2d 428, 431 (Ga. 1987). Excess policies by nature

contain an exhaustion requirement, and the Georgia courts have repeatedly recognized the layered

nature of excess coverage and the exhaustion requirements embedded within such policies. See,

e.q. Jackson v. Sluder, 569 S.E.2d 893, 898 (Ga. Ct. App. 2002) (“[E]xcess insurance coverage is not

regarded as collectible insurance until the limit of liability of the primary policy is exhausted.”

(quotation marks omitted)); Atl. Wood Indus, v. Lumbermen's Underwriting All., 396 S.E.2d 541, 545

(Ga. Ct. App. 1990) (concluding that the exhaustion of the limits of a primary liability policy was “a

condition precedent” to recovery under an excess policy). Under Georgia law, when an excess policy

clearly sets a threshold starting point for payment, the contract is unambiguous and must be

enforced. See Garmany v. Mission Ins. Co., 785 F.2d 941, 945-46 (11th Cir. 1986).

         The National Union Policies expressly provide in the “Limits of Insurance” section that no

payment will be made “unless and until the total applicable limits of Scheduled Underlying


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Insurance have been exhausted by the payment of Loss” to which the policies apply. (Statement of

Material Facts, par. 4). Again, it is undisputed that at all relevant times, HDI did not elect to offer its

limits in settlement or satisfaction of any judgment, and the applicable limits of the underlying HDI

Policies were not exhausted by payment of any settlement or judgment in the underlying Glaubius and

Hadley lawsuits; indeed, the HDI Policies remain unexhausted today. (Statement of Material Facts,

pars. 21-23). Consequently, the excess coverage potentially afforded by the National Union Policies

was not implicated during the pendency of the underlying Glaubius and Hadley matters, and no

obligation on the part of National Union to indemnify the Ralston Entities arose. Wellons, 931

F.Supp.2d at 1244 (“The Umbrella Policy does not provide liability coverage until the CGL policy has

been exhausted. The Umbrella Policy was not triggered, and [the insurer] had no duty to . . . speak to

coverage.”).

        In the present coverage action, the Ralston Entities, Glaubius and Hadley retained Peter

Knowe to testify about insurance customs and practices. Mr. Knowe confirmed an absence of

opinions or criticisms of National Union’s actions. Mr. Knowe acknowledged that National Union

had no obligation to indemnify the insureds unless HDI exhausted its limits in settlement on behalf of

the insureds. (Statement of Material Facts, par. 30).

        It is undisputed that HDI did not seek to exhaust its policies’ limits to settle the underlying

Glaubius and Hadley lawsuits, and HDI has not, in fact, exhausted its policies’ limits. National Union

did not breach any duty to indemnify the Ralston Entities because no such duty arose in the first

instance, and National Union is entitled to judgment as a matter of law with respect to this claim.

B.      National Union Is Not Liable For Alleged Negligent Or Bad Faith Failure To
        Settle

        National Union received a pre-judgment settlement demand on behalf of Glaubius in the

amount of $4.5M, but has no record of receiving a similar settlement demand on behalf of Hadley.


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(Statement of Material Facts, pars. 17-19). After arbitration of Glaubius and Hadley’s claims, the

arbitrator awarded Glaubius the sum of $31.5 million (comprised of $7M in compensatory damages,

$3.5M in attorney’s fees, and $21M in punitive damages). (Statement of Material Facts, par. 26). The

arbitrator awarded Hadley the sum of $22.5 million (comprised of $5M in compensatory damages,

$2.5M in attorney’s fees, and $15M in punitive damages). The combined total of the arbitration

award was $54 million. (Id.).

        A liability insurance carrier may be liable for an excess verdict against its insured where (1)

“the company has knowledge of clear liability,” (2) the company has knowledge of “special damages

exceeding the policy limits,” and the insurer had the opportunity to settle prior to trial within the limit

and unreasonably declined to do so. Southern General Ins. Co. v. Holt, 262 Ga. 267, 269 (1992). The

standard for imposing such liability is one of reasonableness. Id.2

        Georgia law rejects “a rule that an insurer's failure to respond to a time-limited settlement offer

constitutes bad faith per se.” Kingsley v. State Farm Mut. Auto Ins. Co., 353 F.Supp.2d 1242, 1253

(N.D.Ga. 2005). And an insurer does not act wrongfully simply because it does not accept a

settlement offer by a set deadline. Gen. Ins. Co. v. Wellstar Health Sys., Inc., 315 Ga. App. 26 (2012).

Nonetheless, an insurer has a duty to settle if the ordinarily prudent insurer would consider choosing to

try the case created an unreasonable risk to the insured. The rationale is that the interests of the insurer

and insured diverge when a plaintiff offers to settle a claim for the limits of the insurance policy.

Cotton States Mut. Ins. Co. v. Brightman, 580 S.E.2d 519, 521 (Ga. 2003).                   In addition to

demonstrating that the insurer had a duty to settle the case and breached that duty, it must also be




2
       As an initial matter, the Glaubius settlement demand is not within the ambit of Holt
because no information was provided respecting the amount of her damages, and did not reveal
that her alleged special damages exceeded the HDI and/or National Union Policies’ limits.
(Statement of Material Facts, par. 18).


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shown that the breach proximately caused damage to the insured beyond the policy limit. Delancy v.

St. Paul Fire & Marine Ins. Co., 947 F.2d 1536, 1547 (11th Cir. 1991).

        There is, however, no Georgia law imposing a duty on National Union as an excess liability

insurer, to offer amounts within its policies’ limits given the legally recognized exhaustion

requirement contained within excess policies generally, and included in the National Union Policies

specifically. In the closest, analogous case, Coker v. American Guarantee and Liability Ins. Co., 825

F.3d 1287 (11th Cir. 2016), the Eleventh Circuit considered the obligations of excess carriers in the

context of Georgia’s uninsured/underinsured motorist statute, which require every policy issued or

delivered in Georgia to provide payment for all sums the insured is legally entitled to recover in the

case of an uninsured motor vehicle. The court held that the statute’s requirements did not extinguish

the rule of exhaustion in excess policies recognized in Georgia law, and further held that the rule

applied to policies affording uninsured/underinsured motorist (UM) coverage.

        In Coker, an employee was afforded UM coverage under policies issued to his employer that

were comprised of $5 million in primary coverage (referred to by the court as the first layer primary),

and a combined $70 million in “vertically structured” policies above the primary comprised of an

umbrella policy (referred to by the court as second-layer umbrella) and three excess policies (referred

to by the court as third-layer, fourth-layer, and fifth-layer excess). Other than a feature of the second-

layer umbrella policy that was not at issue in the case, each of the policies expressly required

exhaustion of the policy below it before coverage was afforded (identical to the excess National Union

Policies here).

        The employee obtained a $5.5 million consent judgment against the underinsured tortfeasor,

whose liability carrier thereafter paid the $25,000 limit of its policy in exchange for a limited liability

release. The first layer primary carrier subsequently entered into a confidential settlement agreement




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with the employee, paying “substantially less” than its $5 million limit. Each of the carriers above

(second-layer umbrella; third-, fourth-, and fifth-layer excess) declined contribution toward the

unsatisfied portion of the consent judgment, based upon the lack of exhaustion of the respective

policies below them. The employee contended that the policies’ exhaustion provisions were void

pursuant to O.C.G.A. § 33-7-11.

        The court framed the question to be whether the statute “renders void the vertical exhaustion

requirements inherent in every excess liability policy,” and answered the question in the negative.

The court noted that to hold otherwise would effectively prevent contracts for excess UM coverage

because they would upon issuance be void by the statute and thereby converted into primary policies.

Id. at 1295. The court expressly distinguished the case law involving priority disputes among multiple

primary carriers pursuant to their respective “other insurance” clauses, noting that none of the

authority “proscribes the use of coverage limitations that depend on the exhaustion of underlying

policy limits in a tiered insurance scheme.” “Without an explicit proscription from the Georgia courts,

we cannot conclude that section 33-7-11 would render void the vertical exhaustion requirement that,

under Georgia law, is the defining characteristic of an excess liability policy. To do so would alter the

nature and fundamental purpose of the agreement itself—that is, to provide excess coverage.” Id. at

1296 (emphasis in original).

        Imposing any obligation on the part of an excess liability carrier to offer payment of amounts

within its limits, absent the underlying carrier offering to pay its primary limits and actually paying

those limits would “void the vertical exhaustion requirement that, under Georgia law, is the defining

characteristic of an excess liability policy. To do so would alter the nature and fundamental purpose

of the agreement itself—that is, to provide excess coverage.” Coker, supra. As a matter of Georgia

law, the National Union Policies cannot be rewritten to remove the requirement that underlying




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coverage be exhausted before excess coverage is afforded; an insurance policy must instead be read as

a whole and every provision given meaning and effect. Hudson Specialty Ins. Co. v. Snappy Slappy

LLC, No. 5:18-CV-00104-TES, 2019 WL 1938801, at *2 (M.D. Ga. May 1, 2019) ; see also,

Fernandes v. Manugistics Atlanta, 582 S.E.2d 499, 503 (Ga. Ct. App. 2003) (discussing that a court

“is [not] at liberty to rewrite or revise a contract under the guise of [interpreting] it”); United States

Liability Ins. Co. v. Griffith, No. 1:16-CV-01735-ELR, 2017 WL 3521644, at *3 (N.D. Ga. May 10,

2017) (holding that courts are “without the authority to interpret, rewrite, or change the terms of an

unambiguous insurance policy.”). Consequently, National Union is not liable for alleged negligent or

bad faith failure to settle Glaubius’ claims because National Union had no obligation to pay absent

exhaustion of the HDI Policies’ limits.3 Third-Party Plaintiffs’ own expert agreed.

        Importantly, even if National Union disregarded the lack of an offer by HDI to pay its primary

limits and offered that portion of the Glaubius settlement demand within its layer of coverage, doing

so would not have settled the Glaubius lawsuit. It is undisputed that HDI rejected the Glaubius

settlement demand, did not agree to pay the amount of the demand within its coverage, and did not

exhaust the total applicable limits of the HDI Policies in payment of settlement. (Statement of

Material Facts, pars. 21-23). Instead, HDI exercised its right and duty to defend the Ralston Entities

pursuant to a reservation of rights and litigate the alleged liability and damages claimed. (Id.). To the

extent there is any contention in this coverage action that National Union was obligated to offer to

settle the Glaubius lawsuit, and that it is liable for negligent or bad faith failure to settle in not doing

so, this claim cannot succeed. Absent exhaustion of the limits of the HDI Policies (which were not

offered and were not paid), National Union had no duty to pay to settle, and the lack of such an offer

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       As noted, National Union did not receive a settlement demand on behalf of Hadley, but
even if it had, it cannot be liable for negligent or bad faith failure to settle for the reasons
previously outlined.



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cannot be the proximate cause of the excess judgment. Delancy, 947 F.2d at 1547. Proximate cause

evidence “must demonstrate a sufficient causal connection between the injury asserted and the actions

of the defendant insurer.” American Guarantee & Liability Ins. Co. v. Liberty Surplus. Ins. Corp., 835

Fed.Appx. 447, 459 (11th Cir. 2020). National Union is entitled to judgment as a matter of law as to

any claim of negligent or bad-faith failure to settle.

C.      PFH And SRE Took Actions Without Communicating With National Union Or
        Obtaining Its Consent, Breaching The Cooperation And Voluntary Payments
        Clauses, Which Are Conditions Of Coverage

        The “Conditions” section of the National Union Policies provides, in relevant part, that an

insured must cooperate with National Union in the investigation, settlement or defense of a claim or

suit, and that, “No Insured will, except at that Insured 's own cost, voluntarily make a payment,

assume any obligation or incur any expense, other than for first aid, without our consent.” (Statement

of Material Facts, par. 5). It is well-settled that “[t]he cooperation clause is a material condition of a

liability policy and a breach of it in any material respect relieves the insurer of liability.” H.Y. Akers &

Sons, Inc. v. St. Louis Fire & Marine Ins. Co., 172 S.E.2d 355, 358 (Ga. Ct. App. 1969). Cooperation

clauses are valid and enforceable. St. Paul Fire & Marine Ins. Co. v. Albany Emergency Center, Inc.,

361 S.E.2d 687, 688 (Ga. Ct. App. 1987). “[A]n insurer may ‘claim its relief of obligation to make

payment when the insured fails to cooperate’ in a material fashion.” State Farm Fire and Cas. Co. v.

King Sports, Inc., 489 Fed.Appx. 306, 311 (11th Cir. 2012).           Based on the previous discussion,

National Union did not breach any purported duty to defend or indemnify the insureds, and therefore

the insureds remained obligated to comply with their duties under National Union’s Policies.

        The Ralston Entities implicitly recognize this proposition. At paragraph 275 of the Third

Party Claim, it is alleged: “Following HDI’s breach and denial of coverage, [PFH] and [SRE] [were]

released from any of their contractual duties to HDI, and HDI waived or is otherwise estopped from



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relying on Policy provisions made for HDI’s benefit.” (Doc. 28). No similar allegation is made

respecting National Union.

        To the extent PFH and SRE seek to recover from National Union the amount of the arbitration

award exceeding the limits of the HDI Policies, they cannot do so based upon actions they took

without communicating with National Union and obtaining its consent, which breached the

cooperation and voluntary payments clauses of the National Union Policies. These actions include

agreeing to arbitration, agreeing to an arbitrator, admitting liability in the arbitration, and not opposing

confirmation of the Arbitrator’s Final Award and entry of judgment on the award.

        1.      Agreeing To Arbitration/Arbitrator

        During the last week of January 2020 and before February 7, 2020, counsel for Glaubius

and Hadley agreed to dismiss their claims against PF Ralston LLC and Ralston GA LLC, without

prejudice, in exchange for counsel for PFH and SRE agreeing to arbitrate the claims alleged

against PFH and SRE; counsel also agreed to use a particular arbitrator. (Statement of Material

Facts, pars. 13-15). National Union first learned that PRH and SRE agreed to arbitrate Glaubius and

Hadley’s claims and to use a particular arbitrator when the Third-Party Claim in this action was filed

in August 2020, which was well after the agreements were made. (Id.). Agreeing to arbitrate and to

use a particular arbitrator without communicating with National Union and obtaining its consent to

these agreements was contrary to the Conditions of the National Union Policies, which imposed an

obligation of cooperation on the insureds, and which precluded the insureds from assuming any

obligation without National Union’s consent. (Section VI, Conditions, G.4); H.Y. Akers & Sons,

supra.; King Sports, Inc., supra.; see also Peter B. Bollinger Inv. Co. v. Northbrook Property and

Cas. Co., No. Civ. S-89-1573DFLJFM, 1991 WL 326649 (E.D. Cal. Sept. 30, 1991). In Bollinger,

the Northbrook policy “contained a standard cooperation clause” virtually identical to the one in

National Union’s Policies. In the underlying litigation, the insured agreed to arbitrate without


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Northbrook’s consent. The court held that agreeing to arbitrate was “an undertaking by the insured to

the detriment of the insurer in breach of the cooperation clause.” Id. at *7.

        As a matter of law, no coverage is afforded under the National Union Policies for the

award/judgment in favor of Glaubius and Hadley based upon the Conditions of the National Union

Policies, which required the consent of National Union prior to the agreement to arbitrate and the

selection of an arbitrator. See, King Sports, Inc., supra.; H.Y. Akers & Sons., 172 S.E.2d at 358 (“We

have recognized the obligation of an insured to co-operate under this or similar provisions in liability

policies, and the insurer's right to decline to make a defense and to claim its relief of obligation to

make payment when the insured fails to cooperate.”).

        2.      Admitting Liability

        Arbitration of Glaubius and Hadley’s claims against PFH and SRE took place in May

2020. (Statement of Material Facts, par. 24). In the Arbitration, PFH and SRE admitted liability

to some of Glaubius and Hadley’s claims. (Id.). National Union first learned that the Arbitration

had been conducted, and that PRH and SRE admitted liability to some of Glaubius and Hadley’s

claims at the Arbitration when the Third-Party Claim in this action was filed in August 2020,

long after liability had already been admitted. (Statement of Material Facts, par. 25).

        Admitting liability in connection with certain of Glaubius and Hadley’s claims in the

arbitration was also contrary to the Conditions of the National Union Policies, which as noted imposed

obligations of cooperation on PFH and SRE, and which prevented them from assuming any obligation

without National Union’s consent. Beyond the lack of notice to National Union that arbitration was

agreed to, the admission of liability prevented National Union from challenging liability, as it was

entitled to do to the extent PFH or SRE intended to obtain satisfaction of any award from National

Union . See Youell v. Grimes, 217 F.Supp.2d 1167, 1173, (D. Kansas 2002) (actions by the insured’s

designated representative breached the plain language of the insurance contract and relieved the


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insurer of any duty to pay under the policy where the representative, among other things, told the

plaintiffs their claims were valid, documents supported the claims, and filed an answer admitting

liability); Miller v. Jones, 45 N.E.2d 106 (Ohio 1942) (affirming judgment for insurer based on breach

of a cooperation clause where the insured filed an answer admitting liability).

        As a matter of law, no coverage is afforded under the National Union Policies for the

award/judgment in favor of Glaubius and Hadley based upon the Conditions of the National Union

Policies requiring the consent of National Union, which was not requested nor obtained prior to PFH

and SRE admitting liability. See, King Sports, Inc., supra.; H,Y. Akers & Sons., supra.

        3.      Electing Not To Oppose Confirmation Of Arbitration Award

        PFH and SRE elected not to oppose Glaubius and Hadley’s Application for Confirming

Arbitration Award and Entry of Judgment thereon. (Statement of Material Facts. Par. 27).

National Union first learned about PFH and SRE’s decision in this regard when the Third-Party

Claim in this action was filed in August 2020, after the decision had already been made.

(Statement of Material Facts. Par. 28).

        Similar to admitting liability, electing not to oppose confirmation of the Arbitrator’s Final

Award and entry of judgment thereon without communicating with National Union and obtaining its

consent to this decision was also contrary to the Conditions of the National Union Policies and the

duty of cooperation. In so doing, PFH and SRE foreclosed any ability to appeal or challenge the

Arbitrator’s Final Award, thereby limiting National Union’s rights under the insurance policies.

Therefore, as a matter of law, no coverage is afforded under the National Union Policies for the

award/judgment in favor of Glaubius and Hadley based upon the Conditions of the National Union

Policies requiring the consent of National Union, which was not requested before agreeing to forego a

challenge to the arbitration award. See, King Sports, Inc., supra.; H,Y. Akers & Sons., supra.




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D.      National Union Had No Duty To Defend The Ralston Entities

        To the extent there is a contention that National Union breached a duty to defend, this claim

cannot succeed. The “Defense Provisions” in the National Union Policies expressly provide that

National Union has no duty to defend any insured unless “the total applicable limits of Scheduled

Underlying Insurance have been exhausted by payment of Loss.” (Statement of Material Facts, par.

3). The HDI Policies reflect the applicable “Scheduled Underlying Insurance,” and “loss” is defined

in the National Union Policies as “those sums actually paid as judgments or settlements.” (Statement

of Material Facts, par. 6). It is undisputed that at all relevant times, the total applicable limits of the

HDI Policies were not exhausted by payment of sums for any settlement or judgment in connection

with the underlying Glaubius or Hadley lawsuits. (Statement of Material Facts, par. 23).

        Parties to an insurance policy “‘are bound by its plain and unambiguous terms.’ ” Nautilus

Ins. Co. v. EJIII Dev. Co., No. 1:17-CV-2048-TCB, 2018 WL 3524639, at *2 (N.D. Ga. July 19,

2018) (quoting Hays v. Ga. Farm Bureau Mut. Ins. Co., 722 S.E.2d 923, 925 (Ga. Ct. App. 2012)).

“[U]nambiguous terms of an insurance policy require no construction and the plain meaning of such

terms must be given full effect, regardless of whether they might be beneficial to the insurer or

detrimental to the insured.” Evanston Ins. Co. by Essex Ins. Co. v. Littlejohn, No. 1:15-CV-897-

MHC, 2017 WL 6373992, at *5 (N.D. Ga. Sept. 6, 2017) (citing SCI Liquidating Corp. v. Hartford

Fire Ins. Co., 181 F.3d 1210, 1214 (11th Cir. 1999)). “An insurance policy is simply a contract, the

provisions of which should be construed as any other type of contract,” and “whether an insurer is

obligated to defend an action against its insured is determined by the contract.”            Yeomans &

Associates Agency, Inc. v. Bowen Tree Surgeons, Inc., 274 Ga. App. 738, 741, 618 S.E.2d 673 (2005);

see also Auto-Owners Ins. Co. v. Robinson, No. 3:05-CV-109 (CDL), 2006 WL 2583356, at *2

(M.D.Ga. Sept. 6, 2006).




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       It is settled Georgia law that in the absence of a contractual obligation to do so, an excess

insurer is not obligated to provide a defense. Wellons, Inc. v. Lexington Ins. Co., 931 F.Supp.2d 1228,

1245 (N.D. Ga. 2013) (“Georgia courts have consistently determined the duty of an excess insurer

exclusively by the terms of its insurance contract.”). Here, there is no term or provision in the

National Union Policies obligating National Union to provide a defense to the Ralston Entities in the

Glaubius and Hadley lawsuits where the total applicable limits of the HDI Policies were not exhausted

by payment of a settlement or judgment in those lawsuits. Rather, National Union’s defense

obligations could not arise until the exhaustion of all underlying coverage provided by HDI, and any

“duty to defend was consecutive to . . . any other underlying insurer’s duty to defend.” National

Union Fire Ins. Co. of Pittsburgh, Pa. v. Travelers Ins. Co., 214 F.3d 1269, 1272-73 (11th Cir. 2000);

see also, Wellons, 931 F.Supp.2d at 1246.

       Because the HDI Policies’ limits were not, and are not, exhausted, National Union did not

breach any purported duty to defend the Ralston Entities because no such duty was triggered in the

first instance. To the extent of any claim against National Union for alleged breach of the duty to

defend, National Union is entitled to judgment as a matter of law.

E.     The Attorney’s Fees Claims Against National Union Cannot Succeed

       The Ralston Entities, Glaubius, and Hadley assert claims against National Union for attorney’s

fees pursuant to O.C.G.A. § 13-6-11 based on alleged “bad faith in the underlying transaction,” acting

stubbornly litigious, and causing unnecessary trouble and expense. O.C.G.A. § 13-6-11 permits

recovery of attorney’s fees if “the defendant has acted in bad faith, has been stubbornly litigious, or

has caused the plaintiff unnecessary trouble and expense.” Brito v. Gomez Law Grp., LLC, 658 S.E.2d

178, 182 (Ga. Ct. App. 2008). “The existence of bad faith or stubborn litigiousness usually is a jury

question, and only in the rare case where there [is] absolutely no evidence to support the award of




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expenses of litigation would the trial court be authorized to grant summary adjudication on such

issues.” Id.

        An award of litigation expenses for stubbornly litigious conduct is predicated on the absence

of a bona fide controversy. Id. As a matter of law, stubborn litigiousness cannot exist “if there is a

genuine dispute between the parties.” Id. In other words, if “the evidence shows the existence of a

genuine factual dispute or legal dispute as to liability, the amount of damages, or any comparable

issue, then attorney fees are not authorized.” Am. Gen. Life Ins. Co. v. Moody, 2016 WL 9453339, *4

(N.D. Ga. Dec. 8, 2016). Here, there is undisputedly a bona fide controversy between National Union

and the Ralston Entities, Glaubius, and Hadley. As a result, there is no basis for an award of litigation

expenses for National Union’s purported stubbornly litigious conduct. Roswell v. Kroger, 2016 WL

5720319, *4 (N.D. Ga. Oct. 3, 2016).

        Litigation expenses awarded for acting in bad faith must be “based on ‘bad faith connected

with the transaction and dealings out of which the cause of action arose, rather than bad faith in

defending or resisting the claim after the cause of action has already arisen.’” Id. As previously

addressed in Section A., to the extent of any such claim by the Ralston Entities, Glaubius, or Hadley

that National Union is liable for not defending or agreeing to pay the Glaubius settlement demand,

there is no such liability as a matter of law. Consequently, there is an absence of any bad faith in

connection with the transaction out of which the current litigation arose that could support an award of

bad faith litigation expenses against National Union pursuant to O.C.G.A. § 13-6-11.

        National Union is entitled to judgment as a matter of law as to the claim for attorneys’ fees

pursuant to O.C.G.A. § 13-6-11.




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F.      The National Union Policies Do Not Provide Coverage For The Arbitrator’s
        Awards Of Attorney’s Fees Or Punitive Damages

        Coverage under the National Union Policies “follow[s] the terms definitions, conditions and

exclusions” of the HDI Policies, subject to the Policy Period, Limits of Insurance, premium and “all

other terms, definitions, conditions and exclusions” of the National Union Policies. (Statement of

Material Facts, par. 2). The insuring agreement also states that “coverage provided by [the National

Union Policies] will not be broader than the coverage provided by” the HDI Policies. (Id.). The “no

broader” clause” is used to ensure that if the primary insurer does not provide coverage for a particular

loss, the excess insurer will not have to afford coverage for that loss. Sentry Ins., a Mutual Co. v.

Ironshore Specialty Ins. Co., 2016 WL 3568886, at *6 (N.D. Ga. June 30, 2016).

        The HDI Policies except from coverage under the Supplementary Payments provision

“attorneys' fees or attorneys' expenses taxed against the insured.” (Statement of Material Facts, par.

8). The HDI Policies also exclude from coverage “any costs, interest or damages attributable to

punitive or exemplary damages.” (Statement of Material Facts, par. 9). See Capitol Indemnity, Inc. v.

Brown, 581 S.E.2d 339, 342 (Ga. Ct. App. 2003) ( “The policy also provides no coverage for his

punitive damage claims, which are specifically excluded from the Commercial General

Liability Coverage Part.”); Southern v. Sphere–Drake Ins. Co., 486 S.E.2d 674 (Ga. Ct. App.

1997) (stating that in a general liability policy “the punitive damage exclusion endorsement

specifically foreclosed coverage for those damages”). Where the HDI Policies do not afford coverage

for the attorney’s fees and punitive damages awarded against PFH and SRE, “broader coverage

cannot be found” under National Union’s Policies. Crum & Forster Indemnity Co. v. Ameritemps,

Inc., 2013 WL 6571817, *5 (Ohio Ct. App. 2013).

        The Arbitrator awarded Glaubius and Hadley attorney’s fees pursuant to O.C.G.A. § 13-6-11.

Statement of Material Facts, par. 26). Fees awarded pursuant to this statute are not sums an insured is


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legally obligated to pay as damages within the meaning of the HDI Policies’ insuring agreement. Alea

London Ltd. v. American Home Services, Inc., 638 F.3d 768, 780 (11th Cir. 2011). For this additional

reason there is an absence of coverage under the HDI Policies for the Arbitrator’s attorneys’ fees

awards, and therefore no coverage under the National Union Policies either.

       National Union is entitled to judgment as a matter of law concerning the absence of coverage

for the Arbitrator’s award for attorneys’ fees under O.C.G.A. § 13-6-11 and the award for punitive

damages.

                                         CONCLUSION

       For all the foregoing reasons, Third-Party Defendant National Union respectfully

requests that the Court GRANT its Motion for Summary Judgment, and award such other and

further relief as the Court deems appropriate.

       This 28th day of June, 2021.

                                                  WEINBERG, WHEELER, HUDGINS,
                                                  GUNN & DIAL, LLC

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                                 CERTIFICATE OF SERVICE

       I hereby certify that I have this 28th day of June, 2021 electronically filed the foregoing

with the Clerk of Court using the CM/ECF system which will automatically send email

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